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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MNNESOTA

UMTED STATES OF AMERICA,
                                                                            Ca- Ao.i     3t    E   c'r/Lrf:
                            Plaintiff,                                      INDICTMENT

         v.                                                                 18 U.S.C.   $ 17e1(aX1)
                                                                            18 U.S.C.   $ 17e1(a)(2)
(1) LEE ANTHONY FISHER,                                                     18 u.s.c.   $ 17e1&)(2)
(2) CURTIS BRENT CARICO,                                                    18 U.S.C.   S 17e1(c)
                                                                            18 u.s.c.   s 17e1(dx1)(A)
                            Defendants.

        THE UMTED STATES GRAND JURY CHARGES:

                                                     COUNT           I.
                                   @roviding Contraband in Prison)

        On or about January 24, 2020, in the State and District of Minnesota, the

defendant,

                                      LEE ANTHOI\IY FISHER,

did knowingly, intentionally, and unlawfuIly provide and attempt to provide a
prohibited object, specifrcally,           a synthetic               cannabinoid,       a   Schedule   I   controlled

substance, to Curtis Brent Carico, an inmate at the Federal Correctional Institution

in   Sandstone, Minnesota,               all in      violation of Title 18, United States                      Code,

Sections 1 79 1 (a) ( 1),   L7   I Lb)(z), and   1   79   1   (dX   lXA).

                                        COUNT 2
                        (Attempting To Obtain Contraband in Prison)

        On or about January 24, 2020, in the State and District of Minnesota, the

defendant,

                                      CURTIS BRENT CARICO.



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an inmate at the Federal Correctional Institution in Sandstone, Minnesota, did

knowingly, intentionally, and unlawfully attempt to obtain a prohibited object,

specifi.cally,   a   synthetic cannabinoid,   a   Schedule   I   controlled substance,   all in
violation of Title 18, United States Code, Sections L791,(a)(2), 1791(b)(2), L79L(c),

and 17e1(dX1XA).

                                    A TRTTE BILL




UNITED STATES ATTORNEY                              FOREPERSON
